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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


KEN JOHANSEN,                                 :              Case No. 1:15-cv-912

                                              :              Honorable Richard A. Posner
                                                             Judge Presiding
       Plaintiff,                             :
                                                             Honorable Sheila Finnegan
                                              :              Magistrate Judge Presiding

GVN MICHIGAN, INC., et al.,                   :

                                              :

       Defendant.                             :



                    STIPULATION OF DISMISSAL WITH PREJUDICE



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby stipulate to

the dismissal, with prejudice, of all claims asserted by Plaintiff against all Defendants in this

matter. The parties further agree that each party will bear its own costs.

                                              Respectfully submitted:

/s/ Matthew P. McCue                           /s/ Mark P. Miller
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                                              Attorney for Defendant Gunn Marketing Group, Inc.


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed on July 18, 2016

through the Court’s electronic filing system which will notify all counsel of record.



                                                     /s/ Helen Mac Murray
                                                     Helen Mac Murray (6318586)
                                                     Attorney at Law




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